      Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 1 of 20




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

    UNITED STATES OF AMERICA,


        v.                                          1:08-cr-356-18-WSD
    LUZ MARINA LOAIZA-CLAVIJO,
                           Defendant.


                             OPINION AND ORDER

       This matter is before the Court on Magistrate Judge E. Clayton

Scofield, III’s three Reports and Recommendations (“R&Rs”) [817, 820, 865]

regarding Luz Marina Loaiza-Clavijo’s (“Defendant”) Motion to Suppress Vehicle

Search [339], Motion to Suppress Search of Home [340], Motion to Suppress Wire

Taps [347], and Brief in Support of Admission of Polygraph Evidence [796].

I.     BACKGROUND1

       In June 2006, a drug and money laundering investigation was initiated by

agents of the Internal Revenue Service and Immigration and Customs

Enforcement. As part of this investigation, a number of wiretaps on targeted


1
  The parties have not objected to the facts set out in the R&R and, finding no plain
error, the Court adopts them. The factual background and procedural history of
this case is laid out in detail in the R&Rs.
    Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 2 of 20




telephones were authorized. On September 2, 2008, Defendant was indicted, along

with others, on narcotics and money laundering charges. On October 28, 2008, a

search of Defendant’s home and vehicle pursuant to a search warrant was

conducted. On November 4, 2008, a superseding indictment was issued.

      In the superseding indictment, Defendant is charged with: (1) conspiring to

knowingly and intentionally distribute and possess with intent to distribute

marijuana and cocaine in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(ii),

841(b)(1)(A)(vii), 846; (2) conspiring to knowingly conduct and attempt to

conduct financial transactions in and affecting interstate commerce involving the

proceeds of unlawful drug activity with the intent to promote the carrying on of

that unlawful drug activity in violation of 18 U.S.C. § 1956(a)(1)(A)(i); (3)

conspiring to transfer funds from a place in the United States to and through a

place outside the United States with the intent to promote the carrying on of

unlawful drug activity in violation of 18 U.S.C. § 1956(a)(2)(A); and, (4)

conspiring to knowingly transfer United States currency that was the proceeds of

unlawful drug activity from a place in the United States to and through a place

outside the United States and knowing that the transfer was in whole and in part to

conceal the source of the proceeds of the unlawful drug activity and avoid a




                                          2
    Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 3 of 20




transaction reporting requirement in violation of 18 U.S.C. §§ 1956(a)(2)(B)(i),

1956(a)(2)(B)(ii).

      On February 3, 2009, Defendant filed her Motion to Suppress Wire Taps

[347], Motion to Suppress Vehicle Search [339], and Motion to Suppress Search of

Home [340].

      On April 21, 2010, a competency hearing was held and Defendant was

found incompetent to stand trial.

      On May 10, 2010, Defendant submitted to a private polygraph examination.

The examination was not recorded, the Government was not given advance notice

of the examination or an opportunity to attend, and there is no indication on the

Polygraph Report submitted by Defendant that the examiner knew that she was

considered incompetent to stand trial at the time of the examination. (Exs. to Aff.

of Marc E. Foster).

      On May 27, 2010, Defendant was ordered committed to the custody of the

Attorney General and was admitted to the Federal Medical Center-Carswell in Fort

Worth, Texas, for hospitalization, evaluation, and treatment.

      On August 19, 2010, Defendant filed her notice of intent to use the

polygraph evidence from the examination conducted on May 10, 2010.




                                          3
     Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 4 of 20




       On September 8, 2010, Defendant was released from the Federal Medical

Center-Carswell and returned to the Northern District of Georgia. On June 29,

2011, the Court found, after holding a hearing, that Defendant was competent to

stand trial.

       On July 7, 2011, a pretrial conference was held and the parties were directed

to file briefs regarding the outstanding evidentiary issues before the Court. After

the parties filed their responsive briefs and affidavits, the Magistrate Judge issued

three Reports and Recommendations.

       On October 7, 2011, the Magistrate Judge recommended in his First R&R

[817] that the Motion to Suppress Wire Taps [347] be denied.

       On October 14, 2011, the Magistrate Judge recommended in his Second

R&R that the Motion to Suppress Vehicle Search [339] and Motion to Suppress

Search of Home [340] be denied.

       On January 25, 2012, the Magistrate Judge recommended in his Third R&R

that Defendant’s request to admit polygraph evidence from the May 10, 2010,

examination be denied.

       Defendant did not object to the First and Second R&Rs. On February 8,

2012, Defendant filed her objection to the Third R&R. Defendant objected to the

Third R&R on the grounds that it “is the expression of a policy to exclude



                                          4
      Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 5 of 20




polygraph evidence, which is contrary to United States v. Piccinonna, 885 F.2d

1529, (11th Cir. 1989), as opposed to an expression of a particular evidentiary

problem with this particular polygraph test as revealed by the particular evidence

in this case.” (Def.’s Obj. to Third R&R [877] at 3).2

II.    DISCUSSION

       A.    Standard of Review on Magistrate Judge’s R&R

       After conducting a careful and complete review of a magistrate judge’s

findings and recommendations, a district judge may accept, reject, or modify the

magistrate judge’s report and recommendation. 28 U.S.C. § 636(b)(1); Williams v.

Wainwright, 681 F.2d 732 (11th Cir. 1982), cert. denied, 459 U.S. 1112 (1983). A

district judge “shall make a de novo determination of those portions of the report or

specified proposed findings or recommendations to which objection is made.” 28

U.S.C. § 636(b)(1). This requires that the district judge “‘give fresh consideration

to those issues to which specific objection has been made by a party.’” Jeffrey S.

v. State Bd. of Educ., 896 F.2d 507, 512 (11th Cir. 1990) (quoting H.R. Rep. No.

94-1609, 94th Cong., 2nd Sess. (1976)). With respect to those findings and
2
  The Court notes that Defendant makes a number of broad, conclusory objections
to the conclusions and recommendations in the Third R&R. The Court declines to
construe these as valid objections. See Marsden v. Moore, 847 F.2d 1536, 1548
(11th Cir. 1988) (“Parties filing objections to a magistrate's report and
recommendation must specifically identify those findings objected to. Frivolous,
conclusive, or general objections need not be considered by the district court.”).

                                          5
    Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 6 of 20




recommendations to which a party has not objected, the Court must conduct a plain

error review of the record. United States v. Slay, 714 F.2d 1093, 1095 (11th Cir.

1983), cert. denied, 464 U.S. 1050 (1984).

      No objections were filed regarding the recommendation that Defendant’s

Motion to Suppress Vehicle Search [339], Motion to Suppress Search of Home

[340], and Motion to Suppress Wire Taps [347] be denied and, having reviewed

the findings and recommendations in the R&Rs and finding that the Magistrate

Judge did not plainly err, the Court adopts the recommendations. Because

Defendant filed a timely objection to the recommendation that Defendant’s

polygraph evidence be deemed inadmissible, the Court conducts a de novo review

of the Magistrate Judge’s recommendation concerning the admissibility of

polygraph evidence.

      B.     Analysis

             1.    Polygraph Evidence

      In our Circuit, polygraph evidence is admissible in two specific instances:

(1) when both parties stipulate in advance as to the circumstances of the test and as

to the scope of its admissibility; and, (2) when used to impeach or corroborate the

testimony of a witness at trial. United States v. Piccinonna, 885 F.2d 1529,

1536 (11th Cir. 1989). To be admissible to impeach or corroborate, three



                                          6
    Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 7 of 20




preliminary conditions apply: (i) the party intending to introduce the evidence must

provide adequate notice to the opposing party; (ii) the opposing party must be

provided a reasonable opportunity to have its own polygraph expert administer a

test covering substantially the same questions; and, (iii) the polygraph evidence

must satisfy the admissibility requirements of the Federal Rules of Evidence. See

id. “Even where the above three conditions are met, admission of polygraph

evidence for impeachment or corroboration purposes is left entirely to the

discretion of the trial judge.” Id.

      The parties have not stipulated to the admission of polygraph evidence. This

evidence thus may be admitted only for impeachment or corroboration, and only if

Defendant satisfies the required preliminary conditions.

      The Government concedes that Defendant gave the required notice of her

intent to introduce polygraph evidence and that it has had a reasonable opportunity

to conduct its own polygraph examination. (Government’s Opp’n to Def.’s Notice

of Intent to Use Polygraph Evidence at Trial at 6). The Court, however, concludes

that the polygraph examination results are, based on the facts here, not admissible.

      Having considered the record and arguments of the parties as part of its de

novo review of Defendant’s Objection to the Third R&R, the Court concludes the

polygraph evidence is not admissible in this case for two reasons: (1) it does not



                                          7
    Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 8 of 20




meet the requirements of Federal Rule of Evidence 702 and the principles

regarding the admissibility of expert testimony established in Daubert v. Merrell-

Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993); and, (2) its probative value is

substantially outweighed by its prejudicial effect, including because of its

propensity to mislead the jury and confuse the issues, and requires that it be

excluded under Federal Rule of Evidence 403.

              2.     Federal Rule of Evidence 702 and Daubert

       Rule 702 of the Federal Rules of Evidence provides:

              If scientific, technical, or other specialized knowledge
              will assist the trier of fact to understand the evidence or
              to determine a fact in issue, a witness qualified as an
              expert by knowledge, skill, experience, training, or
              education, may testify thereto in the form of an opinion
              or otherwise, if (1) the testimony is based upon sufficient
              facts or data, (2) the testimony is the product of reliable
              principles and methods, and (3) the witness has applied
              the principles and methods reliably to the facts of the
              case.

To exercise properly its role under Daubert as a gatekeeper to the admission of

scientific testimony, the Court must consider whether (i) the expert is qualified to

testify regarding the matters he intends to address, (ii) the expert’s methodology is

sufficiently reliable, and (iii) the expert’s testimony assists the trier of fact to

understand the evidence or to determine a fact in issue. Quiet Tech.

DC-8, Inc. v. Hurel-Dubois UK Ltd., 326 F.3d 1333, 1340-41 (11th Cir. 2003).

                                             8
    Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 9 of 20




        Daubert sets forth a non-exclusive checklist for use in evaluating the

reliability of scientific expert testimony. The factors include: (1) whether the

expert’s technique or theory can be or has been tested—that is, whether the

expert’s theory can be challenged in some objective sense, or whether it is instead

simply a subjective, conclusory approach that cannot reasonably be assessed for

reliability; (2) whether the technique or theory has been subject to peer review and

publication; (3) the known or potential rate of error of the technique or theory

when applied; (4) the existence and maintenance of standards and controls; and (5)

whether the technique or theory has been generally accepted in the scientific

community. Daubert, 509 U.S. at 593-94. The Court is not required to consider

each of these factors, “and a federal court should consider any additional factors

that may advance its Rule 702 analysis.” Quiet Tech. DC-8, Inc., 326 F.3d at

1341.

        In applying the Daubert criteria, the Court must determine if the expert

unjustifiably extrapolated from an accepted premise to an unfounded decision. See

Gen. Electric Co., 522 U.S. at 146. That is, there must not be “too great an

analytical gap between the data and the opinion proffered.” Id. The Court must be

assured that the expert is using “the same level of intellectual rigor that

characterizes the practice of an expert in the relevant field.” Kumho Tire, 526 U.S.



                                           9
    Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 10 of 20




at 152. “[N]ot only must each stage of the expert’s testimony be reliable, but each

stage must be evaluated practically and flexibly without bright-line exclusionary

(or inclusionary) rules.” Heller v. Shaw Indus., Inc., 167 F.3d 146, 155 (3d Cir.

1999). The focus must be on the principles and methodology and not the

conclusions reached. Daubert, 509 U.S. at 595.3

      As the proponent of the polygraph evidence, Defendant is required to offer

evidence to establish the polygraph evidence at issue here is reliable. To meet this

burden, Defendant has offered an affidavit from a proffered expert in polygraph

examination, and affidavit from the polygraph examiner who administered the

examination, and a book entitled The Polygraph and Lie Detection. This evidence

is offered to show the reliability of the polygraph examination, the polygraph

examiner’s qualifications, and some, but not all, of the procedures and

circumstances for the administration of the examination. See Fed. R. Evid. 104,

702; Bourjaily v. United States, 483 U.S. 171, 175-76 (1987); United States v. One

Parcel of Real Estate at 298 N.W. 45th Street, Boca Raton, Fla., 804 F. Supp. 319,

322 (S.D. Fla. 1992), aff’d, 12 F. 3d 218 (11th Cir. 1993). The Government

concedes that the general theory or technique behind polygraph testing “has been


3
  Defendant did not request a hearing on her request to admit polygraph evidence
in her Objection to the Third R&R and, having reviewed the record, the Court
determines a hearing is not necessary to decide the issues presented.

                                         10
   Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 11 of 20




subjected to numerous studies, research, peer review, and publication over nearly a

century.” (Government’s Opp’n to Def.’s Notice of Intent to Use Polygraph

Evidence at Trial at 8). In evaluating the evidence submitted by Defendant and the

remaining factors governing the admissibility of expert testimony, the Court

concludes that Defendant’s proffered polygraph evidence fails to satisfy the

requirements under Federal Rule of Evidence 702 and Daubert.

                   a.     Whether the technique or theory can be adequately tested

      The Court agrees with the opinion of the Magistrate Judge that the evidence

presented by Defendant fails to demonstrate that her polygraph evidence is

sufficiently reliable to be admissible under Federal Rule of Evidence 702 and

Daubert because “neither the theory nor the technique of polygraph testing used in

this case has been or can be adequately tested.” (Third R&R at 9). For polygraph

expert testimony to be admissible to impeach or corroborate, Daubert requires

evaluating whether it can be challenged in some objective sense and determining

that it is not simply a subjective, conclusory approach that cannot reasonably be

assessed for reliability. 509 U.S. at 593-94. Piccinonna’s requirement that an

opposing party be provided a reasonable opportunity to have its own polygraph

expert administer a test covering substantially the same questions also reflects the




                                         11
   Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 12 of 20




concern under Daubert that any polygraph examination be testable. See Daubert,

509 U.S. at 593-94; Piccinonna, 885 F.2d at 1536.

      Here, Defendant took a private polygraph examination without providing the

Government an opportunity to attend, without having it videotaped, and did not

notify the Government of the administering of that examination until three months

after the fact. The private polygraph examination was conducted after Defendant

was declared incompetent to stand trial, but before she was committed to the

custody of the Attorney General.

      Defendant concedes that the results of the polygraph examination “are not

reproducible,” are subjective and “very examiner / examinee dependent,” and only

reflect Defendant’s mindset on the day of the examination and all the surrounding

circumstances that were then in existence. (Def.’s Br. in Supp. of Admission of

Polygraph Evidence at 18, n.2). Even if the Government were to conduct its own

examination between now and trial, it could not replicate the results of May 10,

2010, because “the circumstances . . . have changed” including because

Defendant’s mental state is different and she is now competent to stand trial. (Id.).

      The Government has been deprived of any reasonable opportunity to

objectively test and challenge the Defendant’s polygraph results because of

Defendant’s failure to notify the Government of the private polygraph examination



                                         12
   Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 13 of 20




or to afford it an opportunity to attend or conduct its own examination before her

incompetency was treated at the Federal Medical Center-Carswell. The impact of

this failure is aggravated considering that the examination was conducted while

Defendant was deemed incompetent to stand trial and later found to be competent.

The Government was denied the opportunity to conduct its own test under similar

circumstances. See Daubert, 509 U.S. at 593-94; Piccinonna, 885 F.2d at 1536.

      The Court finds that Defendant’s polygraph evidence is based on a

subjective, conclusory approach; cannot be objectively challenged in these

circumstances; and that Defendant deprived the Government of a reasonable

opportunity to objectively challenge and test the private polygraph results by

conducting its own examination under similar circumstances and conditions.

Under these circumstances, and because Defendant’s subjective technique is not

able to be challenged in an objective sense, the Daubert reliability factor regarding

whether the technique or theory can be adequately tested weighs significantly

against admissibility.

                   b.     Known or potential rate of error of the technique or
                          theory applied

      “‘[P]olygraphy is a developing and inexact science.’ . . . Resolution of the

issue presented in this case requires an understanding of the various techniques that

can be used to administer a polygraph examination.” United States v. Gilliard, 133

                                         13
   Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 14 of 20




F.3d 809, 812 -813 (11th Cir. 1998) (quoting Piccinonna, 885 F.2d at 1535). Our

Circuit has observed that in this inexact science “the only thing the polygraph

examination ‘proves’ is that the examinee believes her own story.” Norelus v.

Denny’s, Inc., 628 F.3d 1270, 1284 (11th Cir. 2010) (quoting Amlong & Amlong,

P.A. v. Denny’s, Inc., 500 F.3d 1230, 1269 n.30 (11th Cir. 2007)). The Polygraph

and Lie Detection—the book relied upon by Defendant in support of

admissibility—gauges the accuracy of polygraphs “in discriminating lying from

truth telling at rates well above chance, although well below perfection.” (Third

R&R at 10).

      While not known to a numerical certainty, the Court finds that the known or

potential error rate in polygraph examination weighs against admissibility under

Federal Rule of Procedure 702 and Daubert. An examination that is better than

mere chance, based on inexact science, and which, at most, proves only a

subjective ‘truth’ is simply not accurate or reliable enough to satisfy the

requirements for admissibility of expert testimony. The danger of allowing this

inaccurate and inexact form of expert testimony to be presented to a jury is

amplified when combined here with the subjectivity of the examination and

inability for the results to be objectively examined and reproducibly tested.




                                          14
   Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 15 of 20




                   c.     The existence and maintenance of standards and controls

      The polygraph examiner acknowledges, and it is undisputed, that the

governing guidelines and professional standards for administering polygraph

examinations are the Standards of Practice of the American Polygraph Association

(“APA Standards”). (Ex. to Aff. of Marc E. Foster (“APA Standards”)). The

polygraph examiner admits that he “did not record the polygraph test (as is

required [per the APA Standards]) because of the possible effect that recording

might have had in the testing environment.” (Aff. of Marc E. Foster ¶ 3); APA

Standards 3.2.1, 3.9.9.

      The Government points out that the evidence submitted by Defendant in

support of admitting the polygraph testimony does not allow for a determination of

adherence to at least four APA Standards. (Government’s Opp’n to Def.’s Notice

of Intent to Use Polygraph Evidence at Trial at 8).

      Defendant does not address any of the Government’s arguments regarding

the failure to adhere to the APA Standards during the polygraph examination in

either her reply to the Government’s memorandum or in her Objection to the Third

R&R. Defendant has failed to demonstrate that sufficient standards and controls

were maintained during the polygraph examination and the failure to record the




                                         15
   Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 16 of 20




examination precludes the Court from being able to verify that the examination

adhered to APA Standards.

      The Court also has reviewed the record and notes that the polygraph

examiner indicated on the “Polygraph Examination and Background Worksheet,”

as required by the APA Standards, that Defendant was taking medication for

thyroid cancer but did not mention that Defendant had been determined to be

incompetent to stand trial. (Ex. to Aff. of Marc E. Foster); APA Standards 3.2.1,

3.4.1, 3.4.2, 3.9.9. The “Polygraph Report” also indicates that the polygraph

examination occurred at the State Bar of Georgia Building in Atlanta, Georgia, but

does not describe the location, room, or circumstances under which the

examination was conducted and if it conformed with the APA Standards. (Ex. to

Aff. of Marc E. Foster); APA Standards 3.6.1.

      There is no indication on the curriculum vitae of Marc E. Foster that he had

completed the APA required minimum of thirty (30) continuing education hours in

the past two years. APA Standards 3.3.4. There also is no indication that the

“Polygraph Instrument,” a Lafayette LX-4000, noted on the Polygraph Report had

been given the APA-required “functionality or calibration test consistent with

manufacturer recommendation and in compliance with state and federal law.”

APA Standards 3.5.3. There also is no clear indication that the APA Standards



                                        16
   Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 17 of 20




regarding pretesting and testing requirements were complied with during

Defendant’s polygraph examination. APA Standards 3.8.1-3.9.10.

      The Court finds that there is at least one clear violation of the APA

Standards in the failure to record the examination and Defendant has otherwise

failed to demonstrate adherence to the APA Standards by its polygraph examiner

during the polygraph examination. The circumstances noted by the Court suggest

that compliance with the APA Standards did not occur and call into question the

reliability of the results of Defendant’s polygraph examination. The Court is not

assured that Defendant’s polygraph examiner used “the same level of intellectual

rigor that characterizes the practice of an expert in the relevant field.” Kumho

Tire, 526 U.S. at 152. This failure to maintain proper standards and controls also

weighs against admissibility of Defendant’s polygraph evidence under Federal

Rule of Evidence 702 and Daubert.

                   d.     General acceptance in the scientific community

      The Court notes that Defendant’s reliance on a 1989 case from our Circuit,

Piccinonna, for the proposition that there is universal consensus that polygraph

evidence is generally accepted in the scientific community is misplaced in light of

United States v. Scheffer, 523 U.S. 303 (1998), Norelus v. Denny’s, Inc., 628 F.3d

1270 (11th Cir. 2010), and United States v. Henderson, 409 F.3d 1293 (11th Cir.



                                         17
   Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 18 of 20




2005). (Def.’s Obj. to Third R&R at 7). While Piccinonna recognized a trend

within the scientific community indicating “increasingly widespread acceptance”

of polygraph testing in the late 1980s, Scheffer, Norelus, and Henderson reflect a

contemporary trend that questions the general acceptance of polygraph testing

within the scientific community because of continuing questions about its

reliability. See Scheffer, 523 U.S. at 309-12 (no consensus polygraph evidence is

reliable); Norelus, 628 F.3d at 1284 (“Opinions based on polygraph examinations

are seldom, if ever, admissible into evidence.”); Henderson, 409 F.3d at 1302-03

(disagreement exists over the reliability of polygraph methodology); Piccinonna,

885 F.3d at 1535.

      Because evidence and opinions based on polygraph examinations do not

enjoy general acceptance within the scientific community, the Court finds that this

final Daubert factor further weighs against admissibility.

      Applying the Daubert factors, considering the requirements of Federal Rule

of Evidence 702, and for the reasons stated above, the Court concludes that

Defendant’s polygraph evidence is inadmissible.

             3.     Federal Rule of Evidence 403

      To the extent Defendant desires to admit the evidence to explain how it

relates to her credibility or corroborates her testimony, the Court concludes the



                                         18
       Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 19 of 20




prejudicial effect of the evidence substantially outweighs its probative value. Fed.

R. Evid. 403; see also Gilliard, 133 F.3d at 815. The truthfulness of Defendant’s

testimony—if she elects to testify on her own behalf—is a matter for the jury to

weigh and determine. See Gilliard, 133 F.3d at 815. The Court finds the reliability

shortcomings to Defendant’s polygraph examination creates a likely danger of

unfair prejudice for the Government, confusion of the issues, and the potential

misleading of the jury. See id. at 815-16. The introduction of Defendant’s

polygraph evidence will also only serve to confuse the issues that are best

developed during direct and cross examination of Defendant, if she testifies,

regarding whether she is truthful, whether she knew of any illegal financial

transactions, or whether she was involved in a drug trafficking conspiracy. See id.

In short, Defendant’s polygraph evidence is also necessarily excluded under

Federal Rule of Evidence 403.

III.     CONCLUSION

         For the foregoing reasons,

         IT IS HEREBY ORDERED that Magistrate Judge E. Clayton

Scofield, III’s three Reports and Recommendations (“R&Rs”) [817, 820, 865]

regarding Defendant’s Motion to Suppress Vehicle Search [339], Motion to

Suppress Search of Home [340], Motion to Suppress Wire Taps [347], and Brief in



                                         19
   Case 1:08-cr-00356-WSD-ECS Document 887 Filed 02/17/12 Page 20 of 20




Support of Admission of Polygraph Evidence [796] are ADOPTED. Defendant’s

Objection to the Third R&R [877] is OVERRULED.

      IT IS FURTHER ORDERED that Defendant’s Motion to Suppress

Vehicle Search [339], Motion to Suppress Search of Home [340], and Motion to

Suppress Wire Taps [347] are DENIED.

      IT IS FURTHER ORDERED that Defendant’s request to introduce

polygraph evidence at trial is DENIED.


      SO ORDERED this 17th day of February, 2012.


                              _________________________________________
                              WILLIAM S. DUFFEY, JR.
                              UNITED STATES DISTRICT JUDGE




                                         20
